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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

        INTERSECTIONS INC. and        .             Civil Action No. 1:09cv597
        NET ENFORCERS, INC.,          .
                                      .
                  Plaintiffs and      .
                  Counter-Defendants, .
                                      .
             vs.                      .             Alexandria, Virginia
                                      .             September 3, 2010
        JOSEPH C. LOOMIS,             .             10:08 a.m.
                                      .
                  Defendant and       .
                  Counter-Plaintiff, .
                                      .
             and                      .
                                      .
        JENNI M. LOOMIS,              .
                                      .
                  Defendant.          .
                                      .
        . . . . . . . . . . .

                             TRANSCRIPT OF MOTION HEARING
                    BEFORE THE HONORABLE THERESA CARROLL BUCHANAN
                            UNITED STATES MAGISTRATE JUDGE

        APPEARANCES:

        FOR THE PLAINTIFFS/               MICHELLE J. DICKINSON, ESQ.
            COUNTER-DEFENDANTS:           DLA Piper LLP (US)
                                          6225 Smith Avenue
                                          Baltimore, MD 21209

        FOR DEFENDANT/COUNTER-            TIMOTHY J. McEVOY, ESQ.
            PLAINTIFF JOSEPH C.           Cameron McEvoy, PLLC
            LOOMIS:                       11325 Random Hills Road
                                          Suite 200
                                          Fairfax, VA 22030
                                            and
                                          EMIL W. HERICH, ESQ.
                                          Keats McFarland & Wilson LLP
                                          9720 Wilshire Boulevard
                                          Penthouse Suite
                                          Beverly Hills, CA 90212

        (Proceedings recorded by electronic sound recording, transcript
        produced by computerized transcription.)
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                                                                                   2


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    1                           P R O C E E D I N G S

    2              THE CLERK:    Intersections Inc., et al. v. Joseph C.

    3   Loomis, et al., Case No. 09cv597.

    4              THE COURT:    Good morning.

    5              MS. DICKINSON:     Good morning, Your Honor.

    6              THE COURT:    Good morning.

    7              MR. McEVOY:    Good morning, Your Honor.

    8              THE COURT:    Would you-all identify yourselves for the

    9   record, please.

   10              MS. DICKINSON:     I'm sorry?

   11              THE COURT:    Would you identify yourselves for the

   12   record, please.

   13              MS. DICKINSON:     Michelle Dickinson for the plaintiffs,

   14   Intersections Inc. and Net Enforcers, Inc., Your Honor.

   15              THE COURT:    Good morning.

   16              MR. McEVOY:    I have a feeling of déjà vu.       Your Honor,

   17   I'm Tim McEvoy for Mr. Loomis.        With me is Mr. Herich --

   18              THE COURT:    Right.

   19              MR. McEVOY:    -- who's been admitted by Judge Brinkema

   20   pro hac and is apparently the object of today's proceeding.

   21              THE COURT:    Right.   Okay.    I've read the pleadings.        Did

   22   you have anything to add, Ms. Dickinson?        And I saw the reply.

   23              MS. DICKINSON:     Okay.    Your Honor, just for a little bit

   24   of context, I just wanted to make sure the Court was -- the Court

   25   understands that we were very reluctant to bring this motion
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    1   today, because we understand that every time Mr. Loomis hires new

    2   counsel and that counsel picks up a pen, that further depletes the

    3   bankruptcy estate, which is a huge issue for us, because we feel

    4   that our client is entitled to it, but there is a conflict of

    5   interest here, and it's our clients' conflict of interest to

    6   waive, and the plaintiffs in this case are not willing to waive

    7   that conflict of interest.

    8                With thousands of attorneys in the United States at

    9   Mr. Loomis's disposal, it's not clear to us why he has chosen a

   10   law firm that is so intricately involved in the underlying issues

   11   in this case, having represented Mr. Loomis at the acquisition and

   12   having this ongoing business relationship with Net Enforcers even

   13   up until today related to certain issues that are in dispute in

   14   this case.

   15                So we would just ask the Court to disqualify Mr. Herich

   16   and his law firm, Keats McFarland.

   17                THE COURT:    All right.   Did you have anything to add to

   18   your opposition?

   19                MR. HERICH:   Yes, I do, Your Honor.      Very briefly, Your

   20   Honor, it's an honor to be here.        Thank you.

   21                THE COURT:    Okay.   Good morning.     Can you pull that

   22   microphone just a little closer?

   23                MR. HERICH:   Sure.

   24                THE COURT:    You're pretty tall.

   25                MR. HERICH:   I actually grew up in Falls Church and
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    1   Bailey's, went to Bailey's Elementary School, Glasgow Junior High,

    2   got into J.E.B. Stuart High School.       I almost had the opportunity

    3   to practice here.    I was accepted to the University of Virginia

    4   Law School.    My dad was a Marine Corps officer, so I ended up in

    5   the West Coast, but thank you, Your Honor.

    6                THE COURT:    Um-hum.

    7                MR. HERICH:   I also want to let the Court know I've been

    8   practicing since 1984.      I've never been accused of an ethical

    9   violation.    I've never had a motion to disqualify brought against

   10   me.

   11                Your Honor, I also want to point out that Mr. Loomis has

   12   a right to counsel of his choice, and for better or worse, that's

   13   me.   In terms of -- in terms of what has been said, Your Honor,

   14   much of it isn't true.      There's absolutely no evidence, Your

   15   Honor, that Keats McFarland, the firm I'm of counsel to, had an

   16   attorney-client relationship with NEI, and when I say that, Your

   17   Honor, I mean we have offered declarations from Mr. McFarland of

   18   Keats McFarland saying there was no such relationship other than

   19   the one case, the lawsuit that was in the Northern District of

   20   California, Odesk Corporation, NEI v. Odesk, which dealt with a

   21   vendor.

   22                What happened in that case, Your Honor, NEI had hired a

   23   company to develop software for NEI.       It was supposed to be secret

   24   software.    That vendor put it on the Internet.       NEI sued the

   25   vendor.   The case was transferred from Arizona to California,
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    1   where KMW acted as local counsel, and the case was settled, the

    2   case was dismissed with prejudice.

    3              That's the only time KMW has been counsel for NEI, and I

    4   have a supplemental declaration from Mr. McFarland.          I also have a

    5   copy of the complaint in that case, Your Honor, I'd like to tender

    6   to the Court.

    7              THE COURT:    All right.    Give it to the courtroom deputy.

    8              MR. HERICH:    Moving along, Your Honor, the reply

    9   papers -- and I'd like to make a technical objection, Your Honor.

   10   Their motion to disqualify was brought two weeks ago.          I asked the

   11   Court and I asked -- first I asked counsel to continue it for a

   12   week.   They refused to do that.      We had a motion to continue --

   13              THE COURT:    Well, I did continue it for a week.

   14              MR. HERICH:    You did, Your Honor.      And so the reply

   15   paper that's before your Court was filed yesterday, Your Honor,

   16   the day I was getting on the plane.

   17              THE COURT:    Right.

   18              MR. HERICH:    One of the things I'm required to do as pro

   19   hac counsel is to read the local rules of the Court.          I've done

   20   that.   Local rule 7(F) indicates that their papers were supposed

   21   to be filed three days after our papers were filed.          Ours were

   22   filed last Wednesday.     Theirs were due on Monday.      They filed them

   23   the day before.

   24              THE COURT:    It's not exactly that way.      It's a Friday

   25   and then the opposition -- you have to have a motion filed by
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    1   Friday.   The opposition is due by Wednesday.        We usually hear

    2   replies on Thursday -- see the replies on Thursday before the

    3   Friday motion, but I continued it, and, you know, we move so fast

    4   that, frankly, even when I get a reply brief in on Friday morning

    5   early or if I get an opposition in Thursday morning, I read it,

    6   and that's what I'm doing here, and I think it's not

    7   inappropriate.

    8                MR. HERICH:   Very good, Your Honor.

    9                THE COURT:    I mean, I gave you a week, and I can give

   10   them a couple of days to file it and make an additional reply.

   11                MR. HERICH:   Well, to be fair, Your Honor, we got three

   12   days.   They filed on a Friday.     It was my birthday that weekend.

   13   I had my opposition in by Wednesday.       Their reply didn't come in

   14   until the following Thursday.

   15                THE COURT:    Right.

   16                MR. HERICH:   And, Your Honor, we also object to the

   17   documents.    If you look at the documents, they're all hearsay.

   18   None of them are authenticated, which goes back to my first point.

   19   It would have been very easy for them to submit a declaration from

   20   somebody at NEI stating:      NEI and KMW have an attorney-client

   21   relationship.    We, NEI, have transmitted confidential information

   22   to KMW pursuant to that relationship.

   23                No declarations, nothing but unauthenticated hearsay

   24   documents, Your Honor.

   25                Now, the one document -- they give you numerous
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    1   documents, and if you look at the dates, which are key, Your

    2   Honor, they're all in a period of time prior to November of 2007.

    3   Now, what happened in November 2007, all the preliminary

    4   discussions about what the relationship between KMW and NEI would

    5   be merged into a document, Your Honor.        It merged into a service

    6   agreement, a signed service agreement, Your Honor, that sets forth

    7   the relationship.    The Court needs to ask itself why haven't they

    8   produced that document?

    9              It's a confidential document, Your Honor.         I have it

   10   here under seal.    I'd like to submit it to the Court, because it

   11   sets forth the relationship between NEI and KMW.

   12              THE COURT:    Do you have any objection to this being

   13   filed under seal?

   14              MS. DICKINSON:     I have no objection at all, Your Honor.

   15              THE COURT:    Okay.

   16              MS. DICKINSON:     Thank you.

   17              MR. HERICH:    Thank you, Your Honor.

   18              And I'd like the Court, again, because this is my

   19   reputation on the line and it's also my ability to come back here,

   20   Your Honor, I'd like to -- the Court can peruse it to its heart's

   21   content.   I'd like the Court to look at the first page and the

   22   signature page, because those are the key parts of the document.

   23              THE COURT:    All right, I see it.

   24              MR. HERICH:    Your Honor, what's key here, also, and if

   25   the Court remembers that ad, it was a cute ad where the three
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    1   little old ladies would gather around a hamburger and this really

    2   small piece of meat and they kept saying, "Where's the beef?

    3   Where's the beef?"     It was a very cute ad, Your Honor.       It's

    4   pertinent here for this reason:       Everything that they're talking

    5   about, all the communications between KMW and NEI were

    6   communications with Joe Loomis and KMW.

    7              Your Honor, if the Court looks at the signature page of

    8   that document, which they've represented sets forth confidential

    9   information that warrants my disqualification, the Court's going

   10   to see that document was signed by Joe Loomis.         Joe Loomis is my

   11   client, Your Honor.

   12              There's no risk of confidential information coming from

   13   NEI to KMW that would, that would be an unfair relationship,

   14   because Mr. Loomis has the information.        Does the Court understand

   15   my point on that?

   16              THE COURT:    Yes, I do.

   17              MR. HERICH:    Okay.   It's -- you know, normally the rule

   18   is you don't want to have a former client divulge information to,

   19   to a lawyer to assist a new client that doesn't have access to

   20   that information, because that's unfair, you shouldn't be allowed

   21   to use information, you have a duty of loyalty to that client, you

   22   shouldn't be allowed to use confidential information to assist a

   23   client, but where the other client you're representing is the

   24   client that had the -- was the genesis of the attorney-client

   25   relationship, to the extent there was one, there's no risk of
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     1   confidential information.

     2              Joe Loomis -- every document that you see part of the

     3   reply Joe Loomis is involved in except for the ones where we

     4   don't -- have no idea who created them.

     5              THE COURT:    But he was -- this is not a personal

     6   contract with Joe Loomis.     This is on behalf of Net Enforcers,

     7   Inc.

     8              MR. HERICH:    That's right, Your Honor, which leads me to

     9   my next point.    If the Court looks at it, I think the Court will

    10   see it talks about an independent contractor relationship, Your

    11   Honor.   So first of all, there is no attorney-client relationship.

    12   How do we know that?     Mr. McFarland has told you that twice now.

    13   They have produced no declaration, no evidence saying there was

    14   one.

    15              No. 2, Mr. McFarland has also provided you with a

    16   declaration saying he received no confidential information related

    17   to this case from Net Enforcers.      They provided no declaration

    18   that says there is -- that such information was passed.

    19              No. 3, if any confidential information is involved, it's

    20   all information that Joe Loomis knows himself, and there's no risk

    21   of us obtaining it from Net Enforcers.

    22              And finally, Your Honor, I'm going to close on this,

    23   Your Honor has been around the block a long time.         It's easy to

    24   understand, to figure out if there's an attorney-client

    25   relationship.    I mean, how would you prove that, Your Honor, if
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                                                                                    11


     1   you wanted to do it?      Well, you would submit the retainer

     2   agreement between, between the client and the attorney, right?

     3   That would be proof that there was a relationship.         They haven't

     4   submitted a retainer agreement.

     5               Okay.   Maybe there was a retainer agreement.       You would

     6   submit log bills, bills from our firm, from KMW to NEI

     7   establishing that legal services were performed.         They haven't

     8   submitted one single bill because there were no bills, and KMW

     9   never received any money from NEI.

    10               Okay.   You would also show work product, wouldn't you,

    11   to show that we represented them?      They submitted no work product.

    12   All they have is a bunch of e-mails and unauthenticated documents,

    13   all that predate the written, signed agreement that defines the

    14   relationship as an independent contractor relationship, Your

    15   Honor.

    16               I thank you for giving me the time to make this

    17   argument.

    18               THE COURT:    But you represented Intersections Inc. --

    19               MR. HERICH:    No.

    20               THE COURT:    Well, hold on.   I haven't finished my

    21   sentence.

    22               MR. HERICH:    I'm sorry, Your Honor.

    23               THE COURT:    Prior to the acquisition or sale by Loomis,

    24   did you not?

    25               MR. HERICH:    No.   We never represented Intersections
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                                                                                    12


     1   Inc., Your Honor, never.     And they never claimed that we did.

     2   They claim we represented Net Enforcers, which was Mr. Loomis's

     3   company.

     4              THE COURT:    Sorry.   Right, sorry.

     5              MR. HERICH:    No.

     6              THE COURT:    I meant to say that, Net Enforcers, rather.

     7              MR. HERICH:    Well, I want to be precise.      We represented

     8   Net Enforcers in the Odesk Corporation matter, and that's Exhibit

     9   A to Mr. McFarland's complaint.      That was the complaint filed in

    10   Arizona, transferred to the Northern District of Arizona (sic),

    11   and then settled with prejudice.

    12              There is no confidential -- the rule comes back and I

    13   agree with them on their law, which is if the representations

    14   involved substantially the same matters, there's a presumption

    15   that confidential information was transferred to the attorney.

    16              The Odesk matter, the only time we represented Net

    17   Enforcers, there's no relationship to this case.

    18              THE COURT:    Okay.

    19              MR. HERICH:    And, Your Honor, it even goes deeper than

    20   that, because if you look at it, you know, again, their lawsuit

    21   has to do with the rescission of, you know, basically what

    22   representations were made, securities violations, all sorts of

    23   wrongdoing by Mr. Loomis and Jenni Loomis that culminated in the

    24   sale of the -- of Net Enforcers.

    25              Our agreement with them is dated at or about the time of
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                                                                                    13


     1   sale.   I mean, you know, there's no -- you know, we weren't

     2   involved any further in that.      Mr. McFarland didn't have any

     3   information regarding that.

     4                THE COURT:    All right.

     5                MR. HERICH:   They also make the argument -- and, Your

     6   Honor, this is another point:      One of the documents attached to

     7   the reply is a draft -- and it's labeled "Draft" -- checklist that

     8   indicates we were supposed to perform some services relevant to

     9   the closing, and I think that might have caught Your Honor's

    10   attention.

    11                If you look at that document, the services that we were

    12   performing were to draft fee agreements with our client, Sony, and

    13   those sort of things, and to prepare the service agreement which

    14   is in front of Your Honor.      We were not involved in the closing of

    15   that document.

    16                Your Honor, if you go on KMW's Web site, we are an

    17   intellectual property law firm.         We are not a corporate law firm.

    18   We're not a merger and acquisition firm.        That's not the work we

    19   do.

    20                We did not have any involvement in that closing, Your

    21   Honor, other than to provide at Mr. Loomis's request, provide

    22   written fee agreements with Sony and our clients and to prepare

    23   the service agreement that's in front of Your Honor.

    24                Thank you, Your Honor.

    25                THE COURT:    All right, thank you.
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                                                                                    14


     1              Did you have any, did you have any argument?

     2              MR. McEVOY:    No, Your Honor.

     3              THE COURT:    All right.   You don't need to, I don't

     4   think.

     5              Did you have anything to add, Ms. Dickinson?

     6              MS. DICKINSON:    Yes, thank you, Your Honor.       Briefly,

     7   Your Honor, there are two issues before the Court as I see it.

     8   There's the attorney-client relationship that was in place before

     9   the acquisition, which I do understand that the principal partner

    10   for Keats McFarland has submitted to this Court a sworn

    11   declaration saying there was no such thing except for the Odesk

    12   matter.

    13              I believe that the documents that we have attached as

    14   exhibits speak for themselves.      To the extent there's some concern

    15   as far as authentication, these documents except for the very

    16   first one were produced by Joe Loomis himself, hence, the "JL"

    17   Bates stamp at the bottom of the documents.

    18              The first document shows that Joe Loomis -- sorry, that

    19   Keats McFarland was representing Joe Loomis -- sorry, let me try

    20   that again -- that Keats McFarland was representing Net Enforcers

    21   at the time that they were shopping Net Enforcers around trying to

    22   find a buyer.

    23              The second document shows that in a presentation about

    24   Net Enforcers to Intersections when they were trying to put

    25   together a deal, Keats McFarland was represented by Net Enforcers
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     1   as being their counsel.      That document was produced by Joe Loomis.

     2                In the next document, Exhibit 3, an August 21, 2007

     3   e-mail, Joe Loomis specifically refers to Keats McFarland as his

     4   general counsel and outside counsel to a prospective client.

     5                In Exhibit 4, which I think is the most telling and is

     6   the most concerning to me personally and as -- as a member of the

     7   bar, it is an e-mail with Mr. McFarland himself advising

     8   Intersections that he and his law firm do, in fact, represent Net

     9   Enforcers with respect to the acquisition and a cease and desist

    10   letter process.

    11                Somewhere along the way, somebody is not being truthful

    12   to the Court, Your Honor, or they were not being truthful at the

    13   time of the acquisition.

    14                THE COURT:    All right, thank you.

    15                MR. HERICH:   A brief response, Your Honor?

    16                THE COURT:    All right, briefly.

    17                MR. HERICH:   First, Your Honor, at least in California,

    18   the fact that a party -- when you get a request to produce, that

    19   requires you to produce all documents in the category being

    20   requested.    That doesn't authenticate documents.

    21                There's no declaration, no evidence authenticating --

    22                THE COURT:    You've got to be kidding me.    Do you dispute

    23   these are authentic documents?

    24                MR. HERICH:   Yes, Your Honor, some of them to the extent

    25   that they're claiming that we produced them.
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     1               THE COURT:    Which one?   How about No. 4?

     2               MR. HERICH:   Well, let's go through them, Your Honor.

     3               THE COURT:    No. 4, do you --

     4               MR. HERICH:   Well, let's start with No. 1.

     5               THE COURT:    Let's start with No. 4.    Do you dispute

     6   that?

     7               MR. HERICH:   Where is that, Your Honor?

     8               THE COURT:    No. 4 to their reply.

     9               MR. HERICH:   Your Honor, I'm not -- I can't authenticate

    10   that document.    I'm not going to dispute it for the Court --

    11               THE COURT:    All right.

    12               MR. HERICH:   -- but I will point out that's another

    13   document, let's see, it's dated October 12, 2007, and they are

    14   talking about the manner in which this is going to be done.          For

    15   instance, the e-mail goes, "Larry, I have included John and Neal

    16   on this e-mail to confirm a few things so we can proceed with next

    17   steps" --

    18               THE COURT:    ". . . proceed with next steps with the

    19   acquisition of Net Enforcers."

    20               MR. HERICH:   Right.   And what happened, Your Honor, is

    21   they discussed -- there was discussions of KMW being counsel for

    22   NEI in this letter writing service.       It never occurred.     That

    23   representation didn't occur.

    24               THE COURT:    Well, it says "the acquisition."

    25               MR. HERICH:   Your Honor, I'm sorry, it says, "I have
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     1   included John and Neal on this e-mail" so we can confirm -- "so we

     2   can proceed with next steps with the acquisition of Net

     3   Enforcers," okay?

     4              Then it says, "KMW is retained outside counsel for Net

     5   Enforcers."

     6              Apparently, that was being contemplated as of October

     7   12, 2007, and then in the document in front of Your Honor, the

     8   November 2007 letter, it specifies what the relationship was, and

     9   I've already told the Court and Mr. McFarland could come out here

    10   and testify to the same thing, the only involvement KMW had in the

    11   closing or in the acquisition was to come forward with client

    12   letters with its clients, which were Sony, which were the various

    13   companies, Your Honor.

    14              THE COURT:    Um-hum.

    15              MR. HERICH:    Not with Net Enforcers.     There's no

    16   document indicating -- Your Honor, these are all sophisticated

    17   attorneys, sophisticated clients.      There would have been a

    18   retainer agreement -- I have one with my clients; I'm sure they

    19   have one with their clients -- indicating that we were

    20   representing them.

    21              Where's the retainer agreement, Your Honor?         Where's the

    22   bill?   Where's the evidence that we performed work?

    23              All these are e-mails discussing work to be done in the

    24   future.

    25              THE COURT:    Okay.
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                                                                                    18


     1                MR. HERICH:   And it still is hearsay, Your Honor.

     2                THE COURT:    All right.   Well, let me lay a few things to

     3   rest.   First as to whether or not I can even hear this motion,

     4   either you can't enter your appearance, or I can't hear the

     5   motion.   You can't have it both ways.      So I find that I can hear

     6   this motion.

     7                I don't think that the -- especially when I still have

     8   an R&R that's outstanding there, the case is ongoing for those

     9   purposes, and for a hearing to disqualify counsel, it is

    10   appropriate that I hear that despite the bankruptcy stay.

    11                I also find that there is no distinction between being

    12   of counsel to a firm or being a partner or an associate or

    13   anything else.    I don't think that that's a material difference in

    14   terms of disqualification.

    15                Now, I -- there are a number of factors that I think

    16   persuade me to rule as I'm going to:       first, that you are on the

    17   defendant's witness list for trial purposes, the fact that these

    18   documents -- and I, I understand that you say you dispute some of

    19   them, but No. 4 you say you don't know, but you don't have any

    20   reason to think it's a false document, as I understand it, but I

    21   don't see any reason to think that these documents that have been

    22   presented by counsel as a member of the bar of this Court are

    23   anything but true documents and that they were produced by Joe

    24   Loomis, and there's no reason to think that they'd be accurate

    25   documents.    I think there's just no reason to think that it's not.
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     1              And I think that the Keats McFarland's representation of

     2   NEI and, obviously, the business relationship between Keats

     3   McFarland and NEI/Intersections Inc., although it may have been

     4   limited in recent years, there was substantial involvement, I

     5   think, by the firm prior to that, and although the documents may

     6   have been signed on behalf of Joe Loomis, he was not signing them

     7   for his personal representation.      This was on behalf of the

     8   company and around the time of and it seemed to be involved with

     9   the acquisition, and I don't see how the information that, that

    10   Keats McFarland or you got from NEI would not pose a conflict

    11   here.   I think it does, and I think that the conflict here is the

    12   plaintiffs' to waive, and they obviously do not waive it.

    13              So I think there's a conflict, and I don't think there's

    14   any way to get around it, and I'm going to grant the motion to

    15   disqualify.   You'll get an order today.

    16              MS. DICKINSON:    Thank you, Your Honor.

    17              THE COURT:    All right.   Now, the R&R is ongoing.      I'm

    18   hoping it will be out in a week or so, or so.        It may be in about

    19   ten days, all right?

    20              MR. McEVOY:    Have a nice weekend.

    21              MS. DICKINSON:    Thank you, Your Honor.

    22              THE COURT:    Thank you.

    23              MR. HERICH:    Thank you, Your Honor.

    24                               (Which were all the proceedings

    25                                had at this time.)
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     1                      CERTIFICATE OF THE TRANSCRIBER

     2        I certify that the foregoing is a correct transcript from the

     3   official electronic sound recording of the proceedings in the

     4   above-entitled matter.

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     6                                                  /s/
                                                 Anneliese J. Thomson
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